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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

ALEXANDER MOLDOVAN and
DIANE HEMINGWAY,

             Plaintiffs,                                     Case No.
v.                                                           Hon.

ORGAN PROCUREMENT
AGENCY OF MICHIGAN,
d/b/a GIFT OF LIFE MICHIGAN,
a Michigan nonprofit corporation,

             Defendant.

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                                  COMPLAINT

      Plaintiffs, Alexander Moldovan and Diane Hemingway, through their

attorneys, Gold Star Law, P.C., for their Complaint state:


                   PARTIES, JURISDICTION AND VENUE

      1.     Plaintiff Alexander Moldovan (“Moldovan”) is an individual who

resides in Grand Ledge, Eaton County, Michigan.
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      2.     Plaintiff Diane Hemingway (“Hemingway”) is an individual who

resides in Mount Morris, Genesee County, Michigan.

      3.     Defendant Organ Procurement Agency of Michigan is a Michigan

nonprofit corporation with its headquarters in Ann Arbor, Michigan.

      4.     This action arises under the Fair Labor Standards Act of 1938

(“FLSA”) 29 U.S.C. 201, et seq., and jurisdiction of this Court is invoked pursuant

to 28 U.S.C. 1331.

      5.     Defendant resides within this judicial district and the claims asserted

in the action arose within this district. Venue is proper in this Court pursuant to 28

U.S.C. 1391(b).

                           FACTUAL ALLEGATIONS

      6.     Defendant    operates    as   a   not-for-profit     organ    procurement

organization.

      7.     Moldovan began working full time for Defendant as a Tissue

Procurement Specialist from May 20, 2013 until he was terminated from his

position on October 20, 2017.

      8.     Hemingway began working full time for Defendant as a Tissue

Procurement Specialist on or about December 2007 until she was terminated from

her position on November 1, 2017.




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      9.     Plaintiffs were only required to have a high school diploma or its

equivalent for the position.

      10.    Tissue Procurement Specialists are primarily responsible for

surgically recovering human tissue for transplant.

      11.    On average, Plaintiffs were scheduled to work four to five 24-hour on-

call shifts per week, for a total of 96 to 120 hours per week.

      12.    Plaintiffs were required to immediately respond to a call when they

were on-call and needed to be prepared to respond to a call at all times because the

process of recovering tissue has to be initiated within 24 hours of the donor’s

death, and Plaintiffs would frequently receive calls with less than 24 hours

remaining for recoveries. Additionally, Plaintiffs often had to travel long distances

to locations throughout Michigan for recoveries, including the Upper Peninsula.

      13.    Travel to and from a recovery site was a principal aspect of Plaintiffs’

jobs with Defendant.

      14.    Plaintiffs often had to communicate with various other individuals

concerning the tissue recovery during their travel to and from a recovery site.

      15.    In addition to recovering tissue and traveling to various locations

throughout Michigan, Plaintiffs were responsible for performing clerical work

while on-call, including entering donor recovery data into software programs,




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coordinating donor transportation, facilitating the shipment of recovered tissue, and

completing documentation for the processing of donor records.

      16.    Plaintiffs regularly made phone calls across state lines and used the

interstate mails to transfer donated tissue to tissue banks throughout the United

States.

      17.    Plaintiffs were unable to use their on-call time to engage in personal

activities and needed to stay within a close geographic proximity of their homes

while they were are on-call because they needed to have access to a computer and

the Internet in case they received a call and to perform clerical work.

      18.    Once Plaintiffs were scheduled to work an on-call shift, Plaintiffs

were generally unable to switch their shift due to staff shortages. Additionally,

Plaintiffs might be reprimanded if they tried to turn down an on-call case.

      19.    Defendant paid Plaintiffs at a flat rate of $300.00 per recovery (or

$350.00 per recovery if working as team leaders). Defendant did not compensate

Plaintiffs for any travel time or for performing clerical work while on-call.

      20.    Prior to October 2015, Defendant did not compensate Plaintiffs for

any of their on-call time if they did not perform any recoveries during their shift.

Defendant implemented a new policy in or around October 2015, requiring

Defendant to pay Plaintiffs $50.00 per on-call shift if Plaintiffs were scheduled to

work as team leaders and if Plaintiffs did not perform any recoveries.


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      21.     In addition to working the on-call shifts, Plaintiffs frequently had to

perform clerical work on the days that they were not scheduled to work.

Defendant did not compensate Plaintiffs for performing clerical work on the days

that they were not scheduled.

      22.     Defendant was required to compensate Plaintiffs at 1 ½ times their

regular rate of pay for hours worked in excess of 40 hours per week. Defendant

did not compensate Plaintiffs at 1 ½ times their regular rate of pay for hours

worked in excess of 40 hours per week.

      23.     Plaintiffs were not, at any time during their employment, exempt from

the overtime pay requirements of the FLSA.

      24.     All hours worked by Plaintiffs, including overtime hours, were

worked at the direction and with the sufferance of Defendant.

      25.     Defendant’s failure to pay overtime in violation of the FLSA was

willful, with knowledge, or with reckless disregard of the statutory overtime

requirements.

      26.     The difference between what Moldovan made, and what he should

have made if he had been properly paid pursuant to the FLSA, is at least

$67,000.00.




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        27.   The difference between what Hemingway made, and what she should

have made if she had been properly paid pursuant to the FLSA, is at least

$93,000.00.

                     CAUSE OF ACTION
     VIOLATION OF THE FAIR LABOR STANDARDS ACT OF 1938

        28.   Plaintiffs incorporate the foregoing allegations of this Complaint as if

fully stated herein.

        29.   Defendant is an “employer” within the coverage of the FLSA. 29

U.S.C. 203(d).

        30.   Plaintiffs are “employees” within the coverage of the FLSA. 29

U.S.C. 203(e).

        31.   Defendant is an “enterprise engaged in commerce” as defined by the

FLSA. 29 U.S.C. 203(s).

        32.   Plaintiffs are “employees” engaged in “commerce” as defined by the

FLSA. 29 U.S.C. 203(b).

        33.   Defendant had revenues in excess of $500,000 per year during the

time of Plaintiffs’ employment with Defendant. 29 U.S.C. 203(s).

        34.   Pursuant to Section 207 of the FLSA, Defendant was required to pay

Plaintiffs 1 ½ times their regular rate of pay for hours worked in excess of 40 per

week.




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        35.   Defendant violated Section 207 of the FLSA by failing to pay

Plaintiffs 1 ½ times their regular rate of pay for hours worked in excess of 40 per

week.

        36.   Pursuant to Section 216(b) of the FLSA, Defendant is liable to

Plaintiffs for unpaid overtime compensation, plus an additional equal amount as

liquidated damages, together with reasonable attorney fees and costs.

        WHEREFORE, Plaintiffs respectfully request that this Court enter

judgment against Defendant in an amount to be determined at trial, together with

their costs and reasonable attorney fees incurred herein, and such other relief as

this Court deems just and equitable.



                                             Respectfully submitted,


                                             GOLD STAR LAW, P.C.

                                               /s/ Maia Johnson Braun
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Dated: September 13, 2019




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